            Case 3:19-cv-01263-RNC Document 1 Filed 08/13/19 Page 1 of 6




                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA,                               :
                                                        :
                    Plaintiff,                          :
                                                        :
               v.                                       :    Civil No.
                                                        :
$45,002.00 IN UNITED STATES CURRENCY,                   :
                                                        :
                Defendant.                              :
                                                        :
[CLAIMANT: ANDREA PEPE]                                 :    August 13, 2019


                            VERIFIED COMPLAINT OF FORFEITURE

       Now comes Plaintiff, United States of America, by and through its attorneys, John H.

Durham, United States Attorney for the District of Connecticut, and John B. Hughes, Assistant

United States Attorney, and respectfully states that:

       1.    This is a civil action in rem brought to enforce the provision of 21 U.S.C. §

881(a)(6), which provides for the forfeiture of proceeds traceable to the exchange of controlled

substances in violation of the Controlled Substances Act, 21 U.S.C. §§ 801 et seq.

       2.    This Court has jurisdiction over this matter by virtue of 28 U.S.C. §§ 1345 and

1355. Venue is appropriate in the District of Connecticut by virtue of 28 U.S.C. § 1395(b).

       3.    The Defendant is $45,002.00 in United States Currency (“Defendant Currency”).

       4.    The Defendant Currency is located within the jurisdiction of this Court.

       5.    On May 15, 2019, Andrea Pepe submitted an administrative claim of ownership to

the Defendant Currency.




                                                 1
            Case 3:19-cv-01263-RNC Document 1 Filed 08/13/19 Page 2 of 6




                                    Background of Investigation

       6.     On March 22, 2019, law enforcement was conducting State of Connecticut DUI

enforcement patrols in the town of Branford. On this day, law enforcement observed a black

Nissan Rogue make an unsafe maneuver and quickly turn into a gas station, parking it there.

Law enforcement observed a white female, later identified as Andrea Pepe (“Pepe”), exit the

Nissan and enter the gas station.


       7.     While Pepe was in the gas station, law enforcement checked the registration status

of the Nissan and discovered that the registered owner (Pepe) had an active warrant issued for

her arrest. Shortly thereafter, Pepe returned to the Nissan and departed the gas station. Law

enforcement then conducted a motor vehicle stop of the Nissan.


       8.    The Nissan pulled to the side of the road and law enforcement approached the

vehicle to ask the operator if she was in fact Andrea Pepe and Pepe confirmed that she was. Law

enforcement told Pepe of the warrant’s existence and asked her to exit the vehicle and she

complied with this directive.


       9.    After a brief discussion with law enforcement, Pepe became uncooperative and

combative and was subsequently handcuffed. Law enforcement entered the Nissan to retrieve

Pepe’s keys, cell phone and identification from her purse before the vehicle was to be towed.

When law enforcement looked into Pepe’s bag, they observed a large amount of cash in a clear

plastic ziplock bag. Also located within the plastic bag were several white paper envelopes, each

containing United States Currency.




                                                2
            Case 3:19-cv-01263-RNC Document 1 Filed 08/13/19 Page 3 of 6




       10.     Law enforcement asked Pepe about the cash in her possession and she said she had

approximately $20,000. When asked if there was additional contraband located within the

Nissan, Pepe said she was also in possession of marijuana and prescription pills but that there

was no additional cash in the car.


       11.     Law enforcement then conducted a more complete search of Pepe’s vehicle. Law

enforcement discovered two more plastic ziplock bags each containing cash visible though the

bags and each bag again also containing numerous white paper envelopes, all containing

currency.


       12.     A further search of the Nissan by law enforcement yielded two mason jars

containing marijuana and two clear plastic bags also containing marijuana. Law enforcement

also found empty clear plastic bags, rubber bands, scales, and numerous prescription pills. Law

enforcement knows through training and experience that the marijuana seized along with a large

quantity of separated cash and packaging materials is often indicative of the buying, selling and

transportation of illegal drugs.


       13.    Pepe was advised of her Miranda Rights by law enforcement and she

acknowledged that she understood her rights. Law enforcement asked Pepe about the currency

they located during the search of the Nissan and she said it was $20,000 from a worker’s

compensation claim. Pepe could not explain the presence of the marijuana, packaging materials,

or scales. Upon further examination of the white paper envelopes containing cash, law

enforcement observed hand written notes on the envelopes that appear to be drug record related.




                                                3
             Case 3:19-cv-01263-RNC Document 1 Filed 08/13/19 Page 4 of 6




       14.     Pepe was transported to the Branford Police Department where she was processed

and charged with the following State of Connecticut statutory violations: Possession of a

Controlled Substance; Possession with the Intent to Sell; Operation of a Drug Factory; and

Prescription Forgery.


       15.     On April 3, 2019, law enforcement took the Defendant Currency to a Bank of

America branch to receive an official count of the seized money, which actually totaled

$45,002.00.


       16.     Law enforcement subsequently ran a criminal history of Pepe and discovered that

besides the charges relating to this forfeiture action, she had been arrested earlier in 2019 as well

as in 2009.


       17.     Based on the above information, it is believed that $45,002.00 in United States

Currency constitutes proceeds from the illegal sale and distribution of narcotics and is therefore

subject to forfeiture pursuant to 21 U.S.C. Section 881(a)(6).

       18.     The Defendant Currency represents proceeds traceable to the exchange of

controlled substances in violation of the Controlled Substances Act, 21 U.S.C. §§ 801 et seq.,

and is, therefore, subject to forfeiture to the United States of America pursuant to 21 U.S.C. §

881(a)(6).

       WHEREFORE, the United States of America prays that a Warrant of Arrest In Rem be

issued for $45,002.00 in United States Currency; that due notice be given to all parties to appear

and show cause why the forfeiture should not be decreed; that judgment be entered declaring the

property to be condemned and forfeited to the United States of America for disposition according



                                                  4
          Case 3:19-cv-01263-RNC Document 1 Filed 08/13/19 Page 5 of 6




to law; and that the United States of America be granted such other relief as this Court may deem

just and proper, together with the costs and disbursements of this action.



                                                     Respectfully submitted,

                                                     JOHN H. DURHAM
                                                     UNITED STATES ATTORNEY


                                                     /s/ John B. Hughes
                                                     JOHN B. HUGHES
                                                     ASSISTAN U.S. ATTORNEY
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                                                 5
          Case 3:19-cv-01263-RNC Document 1 Filed 08/13/19 Page 6 of 6



                                         DECLARATION

       I am a Task Force Officer for the United States Drug Enforcement Administration, and

the agent assigned the responsibility for this case.

       I have reviewed the contents of the foregoing Verified Complaint of Forfeiture and the

statements contained therein are true to the best of my knowledge and belief.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on this 13th day of August, 2019.




                                         /s/ Michael Paleski
                                       MICHAEL PALESKI
                                       TASK FORCE OFFICER
                                       U.S. DRUG ENFORCEMENT ADMINISTRATION
